 Case 7:10-cr-00054-MFU             Document 266 Filed 08/20/12                 Page r1 of 2 Pageid#:
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UN ITED STA TES O F A M ER IC A ,                )
                                                 )        Crim inalN o.7:10cr00054-5
                                                 )
V.                                               )        2255 M EM OM NDUM OPINION
                                                 )
SEA N A N TO N IO R O BER TSO N .                )        By:Sam uelG .W ilson
                                                 )        U nited States DistrictJudge

        Petitioner,Sean Antonio Robertson,a federalinm ate proceedingpr/ se,tlled am otion to

vacate,set aside,or correct sentence,ptlrsuant to 28 U.S.C. j 2255,challenging his 2011
conviction and sentence. Upon review oftherecord,thecourtfindsthatRobertson'sinstantj
2255 m otion m ustbe dism issed as an unauthorized successive m otion.



       Robertson challenges his 188-m onth sentence for conspiring to distribute more than 50

gramsofcocainebase,in violation of21U.S.C.j 846. CourtrecordsindicatethatRobertson
previously tiled a j 2255 motion regarding thesnmeconviction and sentence which thiscourt
denied. See Docket Entry N os. 256, 260, and 261. This court m ay consider a second or

successive j 2255 motion only upon specifc certification from the U nited States Courtof
AppealsfortheFourth Circuitthattheclaimsinthemotion meetcertain criteria.Seej225541$.
A s Robertson has notsubm itted any evidence ofhaving obtained certification from the Courtof

Appealsto tile a second orsuccessive j 2255 motion,the courtmustdismisshispetition as
successive.l


l Petitionerishereby advised ofthe procedureforobtaining certitk ation from theUnited StatesCourtofAppeals
fortheFourthCircuittohavethiscourtreview asuccessivej2255motion. Petitionermustsubmitacopyofthe
successivej2255motiontotheCourtofAppeals,alongwithamotionrequesting athree-judgepanelcertification
thatthedistrictcourtmay review the successivej2255motion. See28U.S.C.j 2244 (asamended,l996). A
Fourth Circuitfonn and instructionsforfiling thism otion willbeincluded w ith thisnoticeorareavailablefrom the
Fourth Circuitatthe following address:OfficeoftheClerk,United StatesCourtofAppealsforthe Fourth Circuit,
900 E.M ain St.,Richm ond,V A 232 19.
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                                            II.

       For the reasons stated, the court dism isses Robertson's m otion as an unauthorized

successivej2255motion.
       The Clerk is directed to send copiesofthis M em orandum O pinion and the accom panying

O rderto theparties.
       ENTER:Thisz          dayofAugust,2012.                                       z*.M
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                                                  U n'ed S ates DistrictJudge




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